                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER

 UNITED STATES OF AMERICA                     )      MATTICE/CARTER
                                              )
        v.                                    )      CASE NO. 4:10-CR-17
                                              )
 WANDA MESSICK                                )

                                            ORDER

        On October 14, 2010, Magistrate Judge William B. Mitchell Carter filed a Report and

 Recommendation recommending (a) the Court accept Defendant’s plea of guilty to the lesser

 included offense in Count One of the Indictment, conspiracy to manufacture, possess with intent

 to distribute and distribute five (5) grams of methamphetamine (actual) or fifty (50) grams or

 more of a mixture and substance containing a detectable amount of methamphetamine, a

 Schedule II controlled substance, in violation of 21 USC §§ 846 and 841(a)(1) and 841(b)(1)(B),

 in exchange for the undertakings made by the government in the written plea agreement; (b) the

 Court adjudicate Defendant guilty of the charges set forth in the lesser included offense in Count

 One of the Indictment; (c) that a decision on whether to accept the plea agreement be deferred

 until sentencing; and (d) Defendant shall remain on bond, under current bond conditions,

 pending sentencing in this matter (Doc. 280). Neither party filed an objection within the given

 fourteen days. After reviewing the record, the Court agrees with the magistrate judge’s report

 and recommendation. Accordingly, the Court ACCEPTS and ADOPTS the magistrate judge’s

 report and recommendation pursuant to 28 U.S.C. § 636(b)(1) and ORDERS as follows:

        (1) Defendant’s plea of guilty to the lesser included offense in Count One of the

 Indictment, in exchange for the undertakings made by the government in the written plea

 agreement, is ACCEPTED;



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        (2) Defendant is hereby ADJUDGED guilty of the charges set forth in the lesser included

 offense in Count One of the Indictment;

        (3) A decision on whether to accept the plea agreement is DEFERRED until sentencing;

 and

        (4) Defendant SHALL REMAIN ON BOND pending sentencing on Monday,

 February 14, 2011, at 2:00 pm.

        SO ORDERED.

        ENTER:


                                                        /s/Harry S. Mattice, Jr.
                                                        HARRY S. MATTICE, JR.
                                                   UNITED STATES DISTRICT JUDGE




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